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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                  Case No. 1:12-cr-207

v.                                                         HON. JANET T. NEFF

RYAN NEWTON-ELLIS BASORE,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Ryan Newton-Ellis Basore has filed a motion for modification or reduction of

sentence (Dkt 274) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United

States Sentencing Guidelines, made retroactive by the Sentencing Commission. Probation filed its

Restricted Access Sentencing Modification Report (Dkt 277) finding the defendant eligible for the

reduction. The parties stipulated (Dkt 279) to the retroactive application of the sentencing

amendment and requests the Court to amend the sentence to 38 months, to reflect the § 5K1.1

adjustment in the original sentence.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.
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       Having fully considered the Sentence Modification Report (Dkt 277} and the Stipulation on

Reduction of Sentence (Dkt 279), the Court has determined that the defendant is entitled to a

reduction of sentence pursuant to the policy statements of the U.S. Sentencing Commission.

       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(Dkt 274) pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant’s sentence is reduced from

48 months to 38 months with an effective date of November 1, 2015. 18 U.S.C. § 3582(c)(2) and

U.S.S.G. §1B1.10 cmt. (n. 6).




DATED: April 22, 2015                                /s/ Janet T. Neff
                                                   JANET T. NEFF
                                                   United States District Judge




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